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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


  VICTOR E. PFENDLER,             )        CIV. NO. 14-00377 HG-KJM
                                  )
                 Plaintiff,       )
                                  )
            vs.                   )
                                  )
  LIBERTY DIALYSIS-HAWAII, LLC, )
                                  )
                 Defendant.       )
                                  )
  _______________________________ )

    ORDER GRANTING DEFENDANT LIBERTY DIALYSIS-HAWAII’S MOTION FOR
                    SUMMARY JUDGMENT (ECF No. 34)

        Plaintiff Victor E. Pfendler has filed a Complaint alleging

  his former employer Defendant Liberty Dialysis-Hawaii, LLC

  discriminated against him on the basis of his disability in

  violation of the Americans with Disabilities Act.          Plaintiff also

  alleges he was retaliated against for filing a disability

  discrimination claim with the Equal Employment Opportunity

  Commission.

        Defendant seeks summary judgment on both of Plaintiff’s

  claims.   Defendant asserts that Plaintiff injured his shoulder in

  January 2012 and could not lift enough weight to perform the

  essential functions of his position as a Dialysis Technical

  Specialist.    Defendant asserts it provided Plaintiff with

  reasonable accommodations when it approved his requests for

  medical leave between January 2012 and December 2012.


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        Defendant argues that it reasonably accommodated Plaintiff’s

  injury further in January 2013 when it approved Plaintiff’s

  request for an internal position transfer to the position of a

  Hemodialysis Technician II, which did not require heavy lifting.

        Plaintiff claims that Defendant discriminated against him by

  refusing to allow him to return to his Dialysis Technical

  Specialist position.     Plaintiff acknowledges that he accepted the

  Hemodialysis Technician II position but asserts that the position

  was a demotion and was in retaliation for the Charge of

  Discrimination Plaintiff filed with the Equal Employment

  Opportunity Commission.

        Defendant Liberty Dialysis-Hawaii, LLC’s Motion for Summary

  Judgment (ECF No. 34) is GRANTED.


                            PROCEDURAL HISTORY


        On August 25, 2014, Plaintiff filed a Complaint.            (ECF No.

  1).

        On June 8, 2016, Defendant filed DEFENDANT LIBERTY DIALYSIS-

  HAWAII, LLC’S MOTION FOR JUDGMENT ON THE PLEADINGS OR, IN THE

  ALTERNATIVE, FOR SUMMARY JUDGMENT along with DEFENDANT LIBERTY

  DIALYSIS-HAWAII, LLC’S CONCISE STATEMENT OF UNDISPUTED FACTS.

  (ECF Nos. 34 and 35).

        On June 16, 2016, the Court issued a briefing schedule.

  (ECF No. 36).


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        On June 27, 2016, Plaintiff requested a two week extension

  to file his Opposition.      (ECF No. 38).

        On the same date, the Court issued a Minute Order granting

  Plaintiff’s request for an extension of time.         (ECF No. 39).

        On July 12, 2016, Plaintiff filed PLAINTIFF VICTOR

  PFENDLER’S MEMORANDUM IN OPPOSITION TO DEFENDANT LIBERTY

  DIALYSIS-HAWAII, LLC’S MOTION FOR JUDGMENT ON THE PLEADINGS OR,

  IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT and PLAINTIFF VICTOR

  PFENDLER’S CONCISE STATEMENT OF FACTS IN RESPONSE TO DEFENDANT

  LIBERTY DIALYSIS-HAWAII, LLC’S CONCISE STATEMENT OF UNDISPUTED

  FACTS.   (ECF Nos. 41 and 42).

        On July 21, 2016, the Court issued a Minute Order striking

  Plaintiff’s Memorandum in Opposition and Concise Statement of

  Facts (ECF Nos. 41 and 42) for failure to comply with the Local

  Rules for the District of Hawaii.        (ECF No. 43).

        On July 28, 2016, Plaintiff filed PLAINTIFF VICTOR

  PFENDLER’S MEMORANDUM IN OPPOSITION TO DEFENDANT LIBERTY

  DIALYSIS-HAWAII, LLC’S MOTION FOR JUDGMENT ON THE PLEADINGS OR,

  IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT and PLAINTIFF VICTOR

  PFENDLER’S FIRST AMENDED CONCISE STATEMENT OF FACTS IN RESPONSE

  TO DEFENDANT LIBERTY DIALYSIS-HAWAII, LLC’S CONCISE STATEMENT OF

  UNDISPUTED FACTS.     (ECF Nos. 44 and 45).

        On August 5, 2016, Defendant filed DEFENDANT LIBERTY

  DIALYSIS-HAWAII, LLC’S REPLY MEMORANDUM.         (ECF No. 47).


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        On August 16, 2016, the Court held a hearing on Defendant’s

  Motion.   (ECF No. 49).

                                  BACKGROUND

        The Parties do not dispute the following facts:

        On January 15, 2006, Plaintiff was hired by Defendant

  Liberty Dialysis-Hawaii, LLC.       (Deposition of Plaintiff Victor

  Pfendler (“Pfendler Depo.”) at p. 35, ECF No. 35-8).

        Defendant Liberty Dialysis-Hawaii, LLC provides treatment to

  individuals with impaired kidney function at 17 clinics in

  Hawaii.   (Declaration of Mary Ann Whaley (“Whaley Decl.”) at ¶¶

  3, 8, attached to Defendant’s Concise Statement of Facts, ECF No.

  35-2).

        Over a five year period, Plaintiff held various positions

  with Defendant, including the supervisory position of Chief

  Technician from 2008 to 2011.       (Pfendler Depo. at pp. 36-38, 61,

  89, ECF No. 35-8).     On June 20, 2011, Plaintiff applied to change

  his position to that of a Dialysis Technical Specialist.

  (Internal Application dated June 20, 2011, attached as Ex. 10 to

  Pfendler Depo, ECF No. 35-9 at p. 9).

        The responsibilities of the Dialysis Technical Specialist

  position included the overall operation, repair and maintenance

  of the physical plant, water treatment equipment, medical

  equipment plumbing, electrical systems and maintaining

  environmental cleanliness.      (Liberty Dialysis-Hawaii Job


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  Description and Performance Evaluation, attached as Ex. 13 to

  Pfendler Depo., ECF No. 35-9 at p. 12).

         The written job description for the Dialysis Technical

  Specialist position indicated that it required lifting 75 to 100

  pounds.   (Id. at p. 14).

         On June 22, 2011, Plaintiff accepted the Dialysis Technical

  Specialist Position.     (Applicant Routing/Interview Evaluation

  Sheet, attached as Ex. 11 to Pfendler Depo., ECF No. 35-9 at p.

  10).

         Approximately seven months later, in January 2012, Plaintiff

  Pfendler injured his left shoulder at home and sought medical

  leave from work.     (Pfendler Depo. at 99-13-14, ECF No. 35-8;

  Whaley Decl. at 11, ECF No. 35-2).

         On January 16, 2012, Plaintiff provided Defendant with a

  certificate from Dr. Elizabeth M. Ignacio that stated Plaintiff

  was “totally incapacitated” and he could not work due to his

  shoulder injury.     (Orthopedic Associates of Hawaii Certificate

  dated January 16, 2012, Ex. 17 attached to Pfendler Depo., ECF

  No. 35-10 at p. 1; Whalen Decl. at ¶ 12, ECF No. 35-2).

         Plaintiff remained on approved medical leave until February

  9, 2012, when he requested an extended medical leave from work

  due to his left shoulder injury.         (Certification of Health Care

  Provider for Employee’s Serious Health Condition, attached as Ex.

  14 to Pfendler Depo., ECF No. 35-9 at p. 16-19).


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        Defendant approved Plaintiff’s request for extended medical

  leave.    (Whaley Decl. at ¶ 15, ECF No. 35-2).

        In March 2012, Plaintiff Pfendler contacted Mary Ann Whaley,

  the Human Resources Manager for Defendant.         (Whaley Decl. at ¶

  18, ECF No. 35-2).     Plaintiff asked Ms. Whaley if he could return

  to his position as a Dialysis Technical Specialist in a “light

  duty” capacity where he would be excused from lifting duties.

  (Whaley Decl. at ¶ 18, ECF No. 35-2).        Ms. Whaley informed

  Plaintiff that heavy lifting was an essential part of the

  position and that there was no “light duty” available for a

  Dialysis Technical Specialist.       (Whaley Decl. at ¶ 19, ECF No.

  35-2).

        Defendant permitted Plaintiff to remain on medical leave

  from March 2012 until December 2012 because of his shoulder

  injury.   (Whaley Decl. at ¶ 23, ECF No. 35-2).

        Plaintiff Pfendler provided Defendant with updated medical

  certificates in April, June, August, September, October, and

  December 2012, all of which stated that Plaintiff was unable to

  lift heavy weights and was not allowed to engage in repetitive

  overhead lifting.     (Medical certificate dated February 27, 2012,

  Ex. 17 attached to Pfendler Depo., ECF No. 35-10 at p. 8; Return

  to Duty Form dated March 14, 2012, ECF No. 35-10 at p. 10;

  Medical Certificates dated June 5, 2012 and June 22, 2012, ECF

  No. 35-10 at p. 13-14; Medical Certificate dated August 3, 2012,


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  ECF No. 35-10 at p. 15; Medical Certificates dated September 18,

  2012 and October 30, 2012, ECF No. 35-10 at p. 16-17; Medical

  Certificates dated December 18, 2012 and December 28, 2012, ECF

  No. 35-10 at p. 18-19).

        On November 29, 2012, Plaintiff filed a Charge of

  Discrimination with the Equal Employment Opportunity Commission,

  claiming Defendant discriminated against him on account of his

  disability.    (Charge of Discrimination at p. 2, ECF No. 44-3).

        In December 2012, Defendant’s Human Resource Manager, Mary

  Ann Whaley, spoke to Plaintiff Pfendler and asked him if he would

  consider applying for an internal transfer to a position that did

  not require heavy lifting.      (Whaley Decl. at ¶ 28, ECF No. 35-2).

        A month later, on January 8, 2013, Plaintiff Pfendler

  applied for an internal transfer with Defendant to a Hemodialysis

  Technician II position.      (Whaley Decl. at ¶ 29, ECF No. 35-2).

  Plaintiff stated on his application that he applied to transfer

  from the Dialysis Technical Specialist position because he was

  unable to meet the lifting requirements.         (Pla.’s Application

  dated January 8, 2013, attached as Ex. 15 to Pfendler Depo., ECF

  No. 35-9 at p. 20).

        On January 17, 2013, Defendant accepted Plaintiff’s transfer

  application and placed him in the Hemodialysis Technician II

  position.    (Whaley Decl. at ¶ 30, ECF No. 35-2; Letter from

  Defendant to Plaintiff dated January 17, 2013, attached as Ex. D


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  to Def.’s CSF, ECF No. 35-6).

         On January 22, 2013, Plaintiff filed an Amended Charge of

  Discrimination with the Equal Employment Opportunity Commission,

  claiming disability discrimination and retaliation.          (Charge of

  Discrimination dated January 22, 2013, attached as Ex. 2 to

  Pla.’s CSF, ECF No. 44-3).

         Plaintiff remained in the Hemodialysis Technician II

  position until March 2014, when Plaintiff suffered another injury

  that left him unable to perform his job.         (Pfendler Depo. at p.

  158, ECF No. 35-8).

         On May 27, 2014, the Equal Employment Opportunity Commission

  issued Plaintiff a right-to-sue letter.        (Complaint at ¶ 6, ECF

  No. 1).


                             STANDARD OF REVIEW


         Defendant’s Motion is titled a “Motion for Judgment on the

  Pleadings or, in the Alternative, for Summary Judgment.” (ECF No.

  34).   The Court considers Defendant’s Motion as a Motion for

  Summary Judgment as there are no genuine issues of material fact

  presented in the filings.

         Summary judgment is appropriate when there is no genuine

  issue as to any material fact and the moving party is entitled to

  judgment as a matter of law.       Fed. R. Civ. P. 56(c).     To defeat

  summary judgment there must be sufficient evidence that a


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  reasonable jury could return a verdict for the nonmoving party.

  Nidds v. Schindler Elevator Corp., 113 F.3d 912, 916 (9th Cir.

  1997).

         The moving party has the initial burden of “identifying for

  the court the portions of the materials on file that it believes

  demonstrate the absence of any genuine issue of material fact.”

  T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors Ass'n, 809

  F.2d 626, 630 (9th Cir. 1987) (citing Celotex Corp. v. Catrett,

  477 U.S. 317, 323 (1986)).      The moving party, however, has no

  burden to negate or disprove matters on which the opponent will

  have the burden of proof at trial.        The moving party need not

  produce any evidence at all on matters for which it does not have

  the burden of proof.     Celotex, 477 U.S. at 325.       The moving party

  must show, however, that there is no genuine issue of material

  fact and that he or she is entitled to judgment as a matter of

  law.   That burden is met by pointing out to the district court

  that there is an absence of evidence to support the non-moving

  party’s case.    Id.

         If the moving party meets its burden, then the opposing

  party may not defeat a motion for summary judgment in the absence

  of probative evidence tending to support its legal theory.

  Commodity Futures Trading Comm'n v. Savage, 611 F.2d 270, 282

  (9th Cir. 1979).     The opposing party must present admissible

  evidence showing that there is a genuine issue for trial. Fed. R.


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  Civ. P. 56(e); Brinson v. Linda Rose Joint Venture, 53 F.3d 1044,

  1049 (9th Cir. 1995).      “If the evidence is merely colorable, or

  is not significantly probative, summary judgment may be granted.”

  Nidds, 113 F.3d at 916 (quoting Anderson v. Liberty Lobby, Inc.,

  477 U.S. 242, 249-50 (1986)).

        The court views the facts in the light most favorable to the

  non-moving party.     State Farm Fire & Casualty Co. v. Martin, 872

  F.2d 319, 320 (9th Cir. 1989).       Opposition evidence may consist

  of declarations, admissions, evidence obtained through discovery,

  and matters judicially noticed.        Fed. R. Civ. P. 56(c); Celotex,

  477 U.S. at 324.     The opposing party cannot, however, stand on

  its pleadings or simply assert that it will be able to discredit

  the movant’s evidence at trial. Fed. R. Civ. P. 56(e); T.W. Elec.

  Serv., 809 F.2d at 630.      The opposing party cannot rest on mere

  allegations or denials.      Fed. R. Civ. P. 56(e); Gasaway v.

  Northwestern Mut. Life Ins. Co., 26 F.3d 957, 959-60 (9th Cir.

  1994).    When the non-moving party relies only on its own

  affidavits to oppose summary judgment, it cannot rely on

  conclusory allegations unsupported by factual data to create an

  issue of material fact.      Hansen v. United States, 7 F.3d 137, 138

  (9th Cir. 1993); see also National Steel Corp. v. Golden Eagle

  Ins. Co., 121 F.3d 496, 502 (9th Cir. 1997).




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                                   ANALYSIS


  I.    Disability Discrimination


        Defendant Liberty Dialysis-Hawaii, LLC seeks summary

  judgment on Plaintiff’s claim for discrimination pursuant to the

  Americans with Disabilities Act (“ADA”).

        Title I of the ADA, 42 U.S.C. § 12112(a), prohibits an

  employer from discriminating “against a qualified individual with

  a disability because of the disability of such individual in

  regard to job application procedures, the hiring, advancement, or

  discharge of employees, employee compensation, job training, and

  other terms, conditions, and privileges of employment.”            42

  U.S.C. § 12112(a).

        The Court applies the burden-shifting analysis derived from

  McDonnell Douglas Corp v. Green, 411 U.S. 792 (1973) to claims of

  discrimination on account of a disability.         Raytheon Co. v.

  Hernandez, 540 U.S. 44, 49-50 (2003).

        Under the burden-shifting analysis, the employee must first

  establish a prima facie disability discrimination claim.

  Raytheon Co., 540 U.S. at 49 n.3.         The employee must put forth

  evidence that:

        (1)   he was “disabled” within the meaning of the ADA
              statute;

        (2)   he was a “qualified individual,” meaning he was able to
              perform the essential functions of his job, either with
              or without reasonable accommodations at the time of his

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              disability; and,

        (3)   he suffered an adverse employment action “because of”
              his disability.

        Hutton v. Elf Atochem North Am., Inc., 273 F.3d 884, 891

  (9th Cir. 2001).

        Plaintiff Pfendler cannot establish the second prong of the

  McDonnell Douglas analysis.       Plaintiff has not put forth the

  required evidence to demonstrate that he was a qualified

  individual following his injury in January 2012.          Defendant is

  entitled to summary judgment on Plaintiff’s disability

  discrimination claim.


              1.    “Disabled”


        The ADA defines disability with respect to an individual as

  “(A) a physical or mental impairment that substantially limits

  one or more of the major life activities of such individual; (B)

  a record of such impairment; or (C) being regarding as having

  such an impairment.”      42 U.S.C. § 12102(1).

        In 2008, Congress adopted the ADA Amendments Act, in order

  to clarify that the intention of the Americans with Disabilities

  Act is to provide a broad scope of protection and to expressly

  reject the more stringent standards set forth in Sutton v. United

  Air Lines, 527 U.S. 471 (1999); Pub. L. No. 110-325, 122 Stat.

  3553 (2008).

        The Court assumes, but does not decide, that Plaintiff

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  Pfendler was disabled within the meaning of the ADA following his

  left shoulder injury in January 2012.         Martinez v. University

  Medical Center, 2015 WL 315708, *6 (D. Nev. Jan. 26, 2015)

  (stating that a back impairment resulting in a 20-pound lifting

  restriction that lasted several months could qualify a plaintiff

  as being “disabled”); Rico v. Xcel Energy, Inc., 893 F.Supp.2d

  1165, 1170 (D. N.M. Sept. 25, 2012) (finding restriction on

  lifting over 60 pounds may substantially limit plaintiff’s major

  life activity); cf. Sanchez v. United Parcel Service, Inc., 625

  Fed. Appx. 806, 808 (9th Cir. 2015) (finding that the plaintiff’s

  inability to lift more than 25 pounds did not substantially limit

  his major life activity pursuant to the pre-ADAA amendments).

        Even assuming Plaintiff can establish the first prong of the

  McDonnell Douglas analysis, Defendant is entitled to summary

  judgment because Plaintiff is unable to demonstrate the second

  prong of the test for his disability discrimination claim.

        Plaintiff has not provided evidence to establish that he was

  a qualified individual able to perform the essential functions of

  a Disability Technician Specialist after he suffered his shoulder

  injury in January 2012.


              2.    Plaintiff Was Not a “Qualified Individual” for the
                    Dialysis Technical Specialist Position Following
                    His Injury in January 2012


        The ADA defines “qualified individual” as an individual with


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  a disability who, with or without reasonable accommodation, can

  perform the essential functions of the employment position that

  such individual holds or desires.         42 U.S.C. § 12111(8); Nunes v.

  Wal-Mart, Stores, Inc., 164 F.3d 1243, 1246 (9th Cir. 1999).

         The ADA requires that a plaintiff be able to perform the

  essential functions of his job “with or without reasonable

  accommodation.”     42 U.S.C. § 12111(8).


                    A.    Plaintiff Began His Position as a Dialysis
                          Technical Specialist in June 2011


         Plaintiff Pfendler began working for Defendant in 2006 and

  was promoted over a five year period to the position of Assistant

  Chief Technician and then to the position of Chief Technician in

  August 2008.     (Pfendler Depo. at pp. 35-36, ECF No. 35-8).

         On June 20, 2011, Plaintiff applied to change his position

  from that of Chief Technician to Dialysis Technical Specialist.

  (Internal Application dated June 20, 2011, attached as Ex. 10 to

  Pfendler Depo, ECF No. 35-9 at p. 9).         Plaintiff stated that he

  sought to change from the Chief Technician position to that of

  the lesser Dialysis Technical Specialist position because he was

  “unable to meet the demands of Chief Tech schedule.”           (Id.)

         On June 22, 2011, Plaintiff accepted the Dialysis Technical

  Specialist Position.      (Applicant Routing/Interview Evaluation

  Sheet, attached as Ex. 11 to Pfendler Depo., ECF No. 35-9 at p.

  10).

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                    B.     Plaintiff Was Unable to Perform His Job from
                           January 16, 2012 until March 14, 2012


        There is no dispute that Plaintiff became totally

  incapacitated and unable to work as a Dialysis Technical

  Specialist when he injured his left shoulder in January 2012.

        In January 2012, approximately seven months after Plaintiff

  began as a Dialysis Technical Specialist, Plaintiff Pfendler

  injured his left shoulder at home and sought medical leave.

  (Pfendler Depo. at 99-13-14, ECF No. 35-8; Whaley Decl. at 11,

  ECF No. 35-2).

        Defendant granted Plaintiff’s request for medical leave from

  January 16, 2012 until March 14, 2012 as a result of Plaintiff’s

  shoulder injury.       (Whaley Decl. at ¶ 11-15, ECF No. 35-2).

  Defendant granted Plaintiff’s request for leave based on the

  medical documentation that he provided stating he was “totally

  incapacitated” and could not return to work.          (Orthopedic

  Associates of Hawaii Certificate dated January 16, 2012, January

  23, 2012, Ex. 17 attached to Pfendler Depo., ECF No. 35-10 at p.

  1-2; Certification of Health Care Provider for Employee’s Serious

  Health Condition, attached as Ex. 14 to Pfendler Depo., ECF No.

  35-9 at p. 16-19).


                    C.     Plaintiff Was Unable to Return to the
                           Dialysis Technical Specialist Position
                           Because He Could Not Perform the Essential
                           Functions of the Position


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        On March 14, 2012, Plaintiff provided Defendant with

  documentation from a new health care provider, Dr. Jason

  Kaneshige from Island Orthopaedics, who indicated that Plaintiff

  could return to work but was restricted from lifting more than 30

  pounds.    (Return to Duty Form dated March 14, 2012, from Dr.

  Jason Kaneshige, Island Orthopaedics, ECF No. 35-10 at p. 10).

        Plaintiff claims that he could perform the essential

  functions of his position as a Dialysis Technical Specialist

  beginning in March 2012 despite the fact that he was restricted

  from lifting any more than 30 pounds.


                          1.   Lifting More than 50 Pounds Was an
                               Essential Function of the Dialysis
                               Technical Specialist Position


        A job’s essential functions are the fundamental job duties

  of the employment position not including the marginal functions

  of the position.     29 C.F.R. § 1630.2(n)(1); Bates v. United

  Parcel Service, Inc., 511 F.3d 974, 990 (9th Cir. 2007).

        The defendant employer has the burden of production to

  establish what job functions are essential as “much of the

  information which determines those essential functions lies

  uniquely with the employer.”       Samper v. Providence St. Vincent

  Medical Center, 675 F.3d 1233, 1237 (9th Cir. 2012).

        Evidence of whether a particular function is essential


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  includes the employer’s judgment as to which functions are

  essential, written job descriptions, the consequences of not

  requiring the employee to perform the function, and the current

  work experience of employees in similar jobs.          Samper, 675 F.3d

  at 1238; 42 U.S.C. § 12111(8); 29 C.F.R. § 1630.2(n)(3).

        There is undisputed evidence that lifting more than 50

  pounds was an essential function of the Dialysis Technical

  Specialist Position.

        The summary of duties listed in the Dialysis Technical

  Specialist job written description provided, as follows:

        Under the supervision of the Chief Technician the
        Dialysis Technical Specialist is responsible for:
        overall operation, repair and maintenance of the
        physical plant, water treatment equipment, medical
        equipment plumbing, electrical systems and maintaining
        environmental cleanliness, implementation of the
        preventative maintenance program including: physical
        plant, water treatment, medical equipment, reuse
        equipment, concentrate mixing equipment and test
        equipment....

        (Liberty Dialysis-Hawaii Job Description and Performance

  Evaluation, attached as Ex. 13 to Pfendler Depo., ECF No. 35-9 at

  p. 12).

        The written job description specifically provided that

  lifting 75 to 100 pounds was required for the Dialysis Technical

  Specialist position.      (Id. at p. 14).

        The written job description is not the only factor to be

  considered in evaluating if the requirement is an essential job

  function.    Rohr v. Salt River Project, 555 F.3d 850, 867 (9th

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  Cir. 2009) (citing Cripe v. City of San Jose, 261 F.3d 877, 887

  (9th Cir. 2001)).

        Here, the written job description set forth by the Defendant

  was supported by the Plaintiff’s own description of the essential

  functions of the Dialysis Technical Specialist position.

  Plaintiff had extensive knowledge of the requirements for the

  Dialysis Technical Specialist position because he previously held

  the supervisory role as the Chief Technician from August 2008

  until June 2011.     (Pfendler Depo. at pp. 36-38, 61, 89, ECF No.

  35-8).

        Plaintiff testified in his deposition that the Dialysis

  Technical Specialist was an active, physical job that required

  lifting.    (Pfendler Depo. at pp. 2-3, ECF No. 35-8).         Plaintiff

  described the position as follows:

        So all of the devices used in dialysis, electronic
        devices, have some sort of maintenance requirement.
        The dialysis machines in particular require a lot of
        maintenance, and the majority of my activities as a
        Dialysis Technical Specialist is performing routine
        maintenance, quarterly, semiannual and annual
        maintenance on dialysis machines, as well as trouble-
        shooting and repairs for machines that get broken. And
        that is the lion’s share of what the DTS does, is
        repair and maintenance on dialysis machines....

        Secondarily or maybe first, the same is true about the
        water treatment system. The reverse osmosis system has
        a lot of components that all require scheduled
        maintenance and sometimes require emergent repairs. So
        all that stuff is scheduled, as far as the routine
        stuff is all scheduled, and most of my hours as a DTS
        were spent working on dialysis machines or the water
        treatment system or other devices that are used in the
        dialysis clinic.

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        (Pfendler Depo. at pp. 62-63, ECF No. 35-8).

        Plaintiff testified that the position required lifting more

  than 50 pounds.     (Pfendler Depo. at pp. 73-75, ECF No. 35-8).

  Plaintiff testified that he had to reposition and lift up

  dialysis recliners that were somewhere between 35 and 70 pounds.

  (Pfendler Depo. at pp. 75-76, ECF No. 35-8).          Plaintiff stated

  that dialysis machines were more than 50 pounds and maybe more

  than 100 pounds.     (Pfendler Depo at p. 77, ECF No. 35-8).

  Plaintiff testified that he was required to move saline bags and

  boxes that weighed close to 50 pounds.         (Pfendler Depo. at p. 78,

  ECF No. 35-8).     Plaintiff stated that the job required him to

  lift 40 pound boxes and place the contents into four feet tall

  water tanks.     (Pfendler at pp. 83-84, ECF No. 35-8).

        Plaintiff testified that he could not have performed all of

  the duties of the Dialysis Technical Specialist in March 2012,

  because he was unable to lift more than 30 pounds.           (Pfendler

  Depo. at p. 95, 99, 101, ECF No. 35-8).         Plaintiff agreed that he

  had been required to lift at least 75 to 100 pound weights when

  he performed the functions of a Dialysis Technical Specialist.

  (Pfendler Depo. at p. 89, ECF No. 35-8).         Plaintiff testified

  that when he was the Chief Technician for nearly three years he

  had evaluated employees in the Dialysis Technical Specialist

  position with the understanding that it required lifting of 75 to

  100 pounds.    (Pfendler Depo. at pp. 89-90, ECF No. 35-8).


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        Even if we assume that the Dialysis Technical Specialist

  position required lifting more than 50 pounds, instead of 75 to

  100 pounds as set forth in the written job description, Plaintiff

  was not qualified to do the job of the Dialysis Technical

  Specialist.    Plaintiff was unable to perform the essential

  functions of the position because he could not lift the weight he

  acknowledges was required following his injury in January 2012.


                          2.   Defendant Provided Plaintiff with a
                               Reasonable Accommodation from March 2012
                               to January 2013 By Granting his Request
                               for Medical Leave


        In March 2012, Plaintiff asked Defendant’s Human Resources

  Manager, Mary Ann Whaley, if he could return to his Dialysis

  Technical Specialist on “light duty” where he could be excused

  from lifting duties.      (Whaley Decl. at ¶ 18, ECF No. 35-2).

        Whaley inquired with the Defendant’s Director of Technical

  Services, James Bates, to explore if it was possible for

  Plaintiff to return to his position as a Dialysis Technical

  Specialist on “light duty” and be excused from lifting duties.

  (Id. at ¶ 19).     Bates informed Whaley that “heavy lifting duties

  are an essential part of his job”.        (Id.)   Whaley informed

  Plaintiff that he could not return to his Dialysis Technical

  Specialist position because heavy lifting was an essential

  function of his position and told Plaintiff he could remain on

  medical leave until he recovered.         (Id.)

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        Plaintiff argues that he should have been able to return to

  his position even though he could not perform the essential

  functions of lifting more than 50 pounds as was required by the

  Dialysis Technical Specialist Position.

        The Ninth Circuit Court of Appeals has held that the

  Americans with Disabilities Act does not require an employer to

  exempt an employee from performing essential functions of a

  position or to reallocate essential functions of the position to

  other employees.     Dark v. Curry County, 451 F.3d 1078, 1089 (9th

  Cir. 2008); 29 C.F.R. Part 1630, App; see Hill v. Walker, 737

  F.3d 12091217 (8th Cir. 2013); Gilbert v. Frank, 949 F.2d 637,

  644 (2d Cir. 1991).

        Plaintiff has not put forth any evidence to establish that

  reallocating the heavy lifting tasks required in the Dialysis

  Technical Specialist position was an accommodation that was

  possible or reasonable under the circumstances.          42 U.S.C. §

  12111(8).    It is the plaintiff’s burden to establish that a

  reasonable accommodation is possible.         Dark, 451 F.3d at 1088;

  Zukle v. Regents of Univ. Of Cal., 1966 F.3d 1041, 1047 (9th Cir.

  1999).

        An employer is not obligated to provide an employee the

  exact accommodation he requests or prefers, the employer need

  only provide some reasonable accommodation.         Zivkovic v. So. Cal.

  Edison Co., 302 F.3d 1080, 1089 (9th Cir. 2002); US Airways, Inc.


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  v. Barnett, 535 U.S. 394, 406 (2002).

          Defendant accommodated Plaintiff for more than 12 months

  following his injury in January 2012 by allowing him to take

  medical leave.     The Ninth Circuit Court of Appeals has recognized

  that medical leave may be a reasonable accommodation under the

  ADA.    Dark, 451 F.3d at 1090 (citing Nunes v. Wal-Mart Stores,

  Inc., 164 F.3d 1243, 1247 (9th Cir. 1999)).

          From January 2012 to March 2012, Plaintiff was granted

  medical leave because he was totally incapacitated.           In March

  2012, Plaintiff provided Defendant with medical documentation

  that stated he was unable to lift more than 30 pounds and was

  unable to complete “any repetitive overhead lifting” until August

  2012.    (Return to Duty Form dated April 24, 2012, from Dr. Jason

  Kaneshige, Island Orthopaedics, ECF No. 35-10 at p. 12; Medical

  Certificates dated June 5, 2012 and June 22, 2012, from Dr.

  Jayson H. Takata, Pacific Physical Medicine Assoc. LLP, ECF No.

  35-10 at p. 13-14).

          Between August and December 2012, Plaintiff provided updated

  medical certificates but he was still restricted from lifting

  more than 50 pounds and was restricted from overhead lifting.

  (Medical Certificate dated August 3, 2012, from Dr. Jayson H.

  Takata, restricting lifting over 40 pounds and any overhead

  lifting, ECF No. 35-10 at p. 15; Medical Certificate dated

  September 18, 2012 and October 30, 2012, from Dr. Jayson H.


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  Takata, restricting lifting over 40 pounds and no overhead

  lifting, ECF No. 35-10 at pp. 16-17; Medical Certificate dated

  December 18, 2012 and December 28, 2012, from Jayson H. Takata,

  restricting lifting over 50 pounds and no overhead lifting, ECF

  No. 35-10 at pp. 18-19).

          Plaintiff Pfendler admitted in his deposition that lifting

  more than 50 pounds and lifting of at least four feet high were

  necessary requirements of the Dialysis Technical Specialist

  position.    (Pfendler Depo. at pp. 73-78, 83-84, 89-90, ECF No.

  38-5).

          The undisputed evidence demonstrates that Plaintiff Pfendler

  was unable to perform the essential functions of the Dialysis

  Technical Specialist position between January 2012 and January

  2013.    Defendant provided Plaintiff with reasonable

  accommodations during this period by granting his request for

  medical leave from January 2012 until January 2013. (Whaley Decl.

  at ¶ 15, ECF No. 35-2).

                          3.   Defendant Provided Plaintiff with
                               Reasonable Accommodations in January
                               2013 by Granting His Job Transfer
                               Application


          In December 2012, Plaintiff Pfendler informed Defendant that

  he decided to have surgery to fix his shoulder.          (Whaley Decl. at

  ¶ 27, ECF No. 35-2).      At this time, Defendant’s Director of Human

  Resources asked Plaintiff if he would like to consider applying


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  for a transfer to a position that did not have the heavy lifting

  requirements of the Dialysis Technical Specialist position so

  that he could return to work.       (Id. at ¶ 28).

        On January 8, 2013, Plaintiff Pfendler applied for an

  internal job transfer with Defendant and sought to transfer from

  the Dialysis Technical Specialist position to the Hemodialysis

  Technician II position.      (Whaley Decl. at ¶ 29, ECF No. 35-2;

  Internal Application dated January 8, 2013, attached as Ex. 15 to

  Pfendler Depo., ECF No. 35-9 at p. 20).

        Defendant accepted Plaintiff’s application for the job

  transfer and Plaintiff returned to work as a Hemodialysis

  Technician II on January 21, 2013.        (Letter from Defendant to

  Plaintiff dated January 17, 2013, attached as Ex. D to Pla.’s

  CSF, ECF No. 35-6).

        Defendant claims that the transfer was not a reasonable

  accommodation because the Hemodialysis Technician II position was

  a “lesser position.”

        Reassignment or transfer to a lesser position is a

  reasonable accommodation when there was no reasonable

  accommodation that would allow the employee to perform the

  essential function of his previous position and there was no

  vacant equivalent position to which the employer could reassign

  the employee.     Reza v. Int’l Game Tech., 351 Fed. Appx. 188, 190

  (9th Cir. 2009); 42 U.S.C. § 12111(9)(B).


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        Here, Plaintiff Pfendler was unable to perform the essential

  functions of the Dialysis Technical Specialist position following

  his injury in January 2012.       Plaintiff has not provided any

  evidence that there was a vacant position equivalent to the

  Dialysis Technical Specialist position to which he could have

  been reassigned in January 2013.          The undisputed facts

  demonstrate that it was Plaintiff who chose to apply for the

  Hemodialysis Technician II position.         (Pfendler Depo. at p. 109-

  112, ECF No. 35-8).

        Defendant reasonably accommodated Plaintiff Pfendler from

  January 2012 until January 2013 by providing him with medical

  leave.    In January 2013, Defendant reasonably accommodated

  Plaintiff by granting his request for an internal job transfer to

  the Hemodialysis Technician II position.         Plaintiff sought no

  further accommodations from Defendant.

        Plaintiff Pfendler has failed to put forth evidence of a

  prima facie case that he was “a qualified individual with a

  disability who, with or without reasonable accommodation, can

  perform the essential functions” of the Dialysis Technical

  Specialist position.      42 U.S.C. § 12111(8).     Plaintiff cannot

  establish the second prong of the McDonnell Douglas framework for

  a disability discrimination cause of action.

        Defendant’s Motion for Summary Judgment as to Plaintiff’s

  claim for disability discrimination is GRANTED.


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  II.   Count Two - Retaliation


        Federal law prohibits retaliation against an employee for

  making a charge or otherwise participating in a proceeding

  pursuant to the Americans with Disabilities Act, 42 U.S.C. §

  12203(a).

        Section 503(a) of the Americans with Disabilities Act

  provides:

        No person shall discriminate against any individual
        because such individual has opposed any act or practice
        made unlawful by this chapter or because such
        individual made a charge, testified, assisted, or
        participated in any manner in an investigation,
        proceeding, or hearing under this chapter.

        42 U.S.C. § 12203(a).

        To establish a prima facie case of retaliation, a plaintiff

  must demonstrate that:

        (1)   he engaged in a protected activity;

        (2)   the defendant subjected the plaintiff to an adverse
              employment action; and

        (3)   a causal link existed between the protected activity
              and the adverse employment action.

        Brown v. City of Tucson, 336 F.3d 1181, 1187 (9th Cir.

  2003).

        Filing a complaint with the EEOC constitutes a protected

  activity for a retaliation claim.         Ray v. Henderson, 217 F.3d

  1234, 1240 n.3 (9th Cir. 2000).


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        Plaintiff established that he engaged in a protected

  activity when on November 29, 2012, he filed a Charge of

  Discrimination with the Equal Employment Opportunity Commission.

  (Charge of Discrimination at p. 2, ECF No. 44-3).

        Plaintiff has failed to demonstrate that he suffered an

  adverse employment action as a result of his filing the Charge of

  Discrimination.

        An action is cognizable as an adverse employment action in a

  retaliation case if it is reasonably likely to deter employees

  from engaging in a protected activity.         Ray, 217 F.3d at 1243;

  Burlington Northern & Santa Fe Railway Co. v. White, 548 U.S. 53,

  68 (2006).

        Plaintiff has not demonstrated how his voluntary decision to

  apply for an internal job transfer constitutes an adverse

  employment action that would reasonably likely deter employees

  from engaging in a protected activity.         Ray, 217 F.3d at 1240;

  Brown v. Donahoe, 2013 WL 6048798, *8 (D. Ariz. 2013)(finding the

  plaintiff’s reasonable accommodation was not an adverse

  employment action); Mead v. Bank of America, 2008 WL 706632, *6

  (D. Nev. 2008)(holding that the plaintiff’s voluntary resignation

  was not an adverse employment action).

        The undisputed evidence demonstrated that in December 2012,

  Defendant’s Human Resources Manager engaged in the interactive

  process with Plaintiff to try and determine if additional


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  reasonable accommodations were possible given that Defendant had

  been granted nearly 12 months of medical leave due to his

  shoulder injury.     Defendant’s engagement in the interactive

  process to determine if a reasonable accommodation was possible

  was required pursuant to the ADA.         Humphrey v. Mem’l Hosps.

  Ass’n, 239 F.3d 1128, 1137 (9th Cir. 2001); see 29 C.F.R. §

  1630.2(o)(3).

        Plaintiff has not presented any evidence that Defendant’s

  engagement with Plaintiff in the required interactive process was

  an adverse employment action.       Defendant’s engagement in the

  required interactive process resulted in providing Plaintiff with

  a reasonable accommodation.       Providing a reasonable accommodation

  that was voluntarily accepted by the Plaintiff is not an adverse

  employment action.      Reza, 351 Fed. Appx. at 190; see Dawson v.

  Akal Security Inc., 2016 WL 4363169, *1 (9th Cir. Aug. 16, 2016).

        Defendant’s Motion for Summary Judgment as to Plaintiff’s

  Claim for Retaliation is GRANTED.



                                  CONCLUSION

        Defendant Liberty Dialysis-Hawaii, LLC’s Motion for Summary

  Judgment (ECF No. 34) is GRANTED.

        There are no remaining claims or parties herein.

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        The Clerk of Court is DIRECTED to enter judgment in favor of

  Defendant and to close the case.




        IT IS SO ORDERED.


        DATED: September 22, 2016, Honolulu, Hawaii.



                                     ___________________________________
                                     Helen Gillmor
                                     United States District Judge




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  MOTION FOR SUMMARY JUDGMENT (ECF No. 34)

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